                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CIVIL ACTION NO. 5:24-cv-00028-KDB-SCR


 FEDERAL TRADE COMMISSION,

                                    Plaintiff,

 v.

 NOVANT HEALTH, INC.

 And

 COMMUNITY HEALTH SYSTEMS, INC.,

                                    Defendants.



 DEFENDANTS’ MOTION FOR AMENDED PROTECTIVE ORDER, AS TO WHICH
     PLAINTIFF FEDERAL TRADE COMMISSION HAS NO OPPOSITION

       Defendants Novant Health, Inc. (“Novant”) and Community Health Systems, Inc.

(“CHS”) respectfully move for an amended, non-interim protective order pursuant to Fed. R.

Civ. P. 26(c), in the form attached as Exhibit 1 (the “Amended Order”), to achieve necessary

access for certain in-house counsel to prepare for the defense of this litigation and to preserve the

purported confidentiality of materials disclosed by Plaintiff Federal Trade Commission (“FTC”)

and others in this action. Novant and CHS have conferred with the FTC regarding this motion in

accordance with Local Rule 7.1(b), and the FTC does not oppose this motion. The parties are,

however, jointly requesting that the court defer entering the Amended Order for three days from

the filing of this motion to ensure that third-party objectors, if any, have a further opportunity to

be heard.



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       Defendants thus respectfully request that pursuant to Fed. R. Civ. P. 26(c), the Court

enter the proposed protective order attached as Exhibit 1 on March 1, 2024. In support of this

motion, Defendants submit an accompanying memorandum of law.




Dated: February 27, 2024                        Respectfully Submitted,


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